       SOUTHEAST ALASKA CONSERVATION COUNCIL,
AUK KWAAN, LYNN CANAL CONSERVATION, AND SIERRA CLUB

                                                                       May 10, 2006

Pete Griffin
District Ranger
United States Forest Service
8465 Old Dairy Rd.
Juneau, AK 99801

John C. Leeds
Juneau Regulatory Field Office
United States Army Corps of Engineers
8800 Glacier Highway, Suite 106
Juneau, AK 99801-8079

RE:    Notice of intent to sue under the Endangered Species Act and Administrative Procedure
       Act for failure to initiate formal consultation with regard to Steller sea lion critical habitat
       in the Juneau Access Improvements Project Area

Dear Mr. Griffin and Mr. Leeds:

On May 10, 2006, the undersigned groups submitted a 60-day notice letter pursuant to section
11(g) of the Endangered Species Act (ESA), 16 U.S.C. § 1540(g), to the Federal Highway
Administration (FHWA) and National Marine Fisheries Service (NMFS). That letter explains
that FHWA violated the ESA and the Administrative Procedure Act, 5 U.S.C. § 706, by failing
to initiate formal consultation with regard to Steller sea lion critical habitat in the Juneau Access
Improvements Project area. The letter is attached to this correspondence.

The requirement to ensure protection of critical habitat applies “to all actions in which there is
discretionary Federal involvement or control.” 50 C.F.R. § 402.03. The term “action” “means
all activities or programs of any kind authorized, funded, or carried out, in whole or in part, by
Federal agencies in the United States or upon the high seas. Examples include . . . (c) the
granting of licenses, contracts, leases, easements, rights-of-way, permits, or grants-in-aid.” 50
C.F.R. § 402.02. Accordingly, the Forest Service must initiate formal consultation before it
decides whether, and under what conditions, it would grant a right-of-way for construction
activities that may affect critical habitat. Similarly, the ESA mandates formal consultation
before the Army Corps of Engineers decides whether to issue a permit pursuant to § 404 of the
Clean Water Act.

Should the Forest Service or Army Corps of Engineers take those actions without initiating
formal consultation, those agencies will violate the clear requirements of the ESA. We strongly
encourage the Forest Service and Army Corps of Engineers not to follow FHWA’s example and,
instead, to initiate formal consultation before issuing any permits or allowing any activities that
may adversely affect designated critical habitat for Steller sea lions.


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